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              EXHIBIT I
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       BINGHAM



                               Geoff M. Howard
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                              March 14, 2014

                              Via E-Mail

                              Robert H. Reckers
                              Shook, Hardy & Bacon LLP
                              JPMorgan Chase Tower
                              600 Travis Street, Suite 3400
                              Houston, TX 77002-2926

                              Re: Oracle USA, Inc., et al. v.
                                                           v. Rimini
                                                              Rimini Street, Inc.
                                                                             Inc. and Seth Ravin,
                                  No. 2:10-cv-0106 LRH PAL (D.Nev.)

                              Dear Rob:

                              I write in response to your March 10, 2013 letter concerning Oracle's demand that
                              Rimini Street cease the business practices that the Court's February 13, 2014
                              Order determined constitute copyright infringement, and that Rimini provide
                              critical information regarding its current practices. Your letter confirms the
                              importance of Rimini's providing the information Oracle requests on a prompt
                              schedule, and in a manner that allows Oracle to test assertions that Rimini makes.
                  Beijing
                  Boston     First, as to the four listed categories of information you state that Rimini will
               Frankfurt     provide (on the second and third pages of your letter), Oracle requests that Rimini
                Hartford     provide that information within two weeks. Most of this information consists of
              Hong Kong
         Lexington (GSC)
                             lists that Rimini presumably has in its records anyway, e.g., the updated client list,
                 London      the list of Rimini-hosted environments, the list of PeopleSoft updates created on
             Los Angeles     any Rimini-hosted environment, and the list of clients that received updates
                New York     generated on Rimini-hosted environments. There is no reason why Rimini cannot
          Orange County
           San Francisco
                             provide that information to Oracle promptly. The last category — information
           Santa Monica      about Rimini's claimed environment migration project — relates to a project that
           Silicon Valley    you say is currently "underway" and that Rimini "is working diligently" on, so
                   Tokyo     should be easy enough to describe.
            Washington

                             Second, in light of the claims by Rimini publicly and in your letter, additional
                             discovery on Rimini's purported new practices is necessary. This includes the
 Bingham McCutchen LLP       collection and production of additional documents and likely additional
Three Embarcadero Center
                             depositions. Accordingly, Oracle requests that, within two weeks, Rimini identify
       San Francisco, CA
             94111-4067
                             and disclose those personnel whose job responsibilities involve, or who have

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                           knowledge about, the following topics, for purposes of selecting document
                           custodians:

                                •       The PeopleSoft, J.D. Edwards and Siebel environments that have been on
                                        Rimini's systems after the close of fact discovery, including which
                                        environments are still on Rimini's systems, and how Rimini uses these
                                        environments;

                                •       Rimini migration of any PeopleSoft environment(s) off its systems to a
                                        customer's system;

                                •       Any implemented or planned changes to Rimini's processes for
                                        development and testing of PeopleSoft updates since fact discovery has
                                        closed, including whether — and if so, how — Rimini plans to deliver
                                        PeopleSoft updates without cross-using environments or having local
                                        environments;

                               •        The implementation and status of the environment migration project that
                                        you state Rimini is undertaking.

                          Depositions on these topics may be required, but in addition, we will need
                          documents from the individuals involved so that we can test assertions that Rimini
                          makes concerning its claimed changes to its business practices. In addition,
                          Oracle requests non-custodial documents concerning the above topics.

                         Third, we should set a schedule for document production and depositions, so that
                         this discovery may be finished expeditiously. Oracle proposes that once Rimini
                         identifies the relevant custodians, Rimini produce custodial and non-custodial
                         documents concerning the above subjects within a month. That timing may need
                         to be adjusted depending on the number of custodians and the size of their likely
                         productions. We would then plan to conduct depositions as soon as feasible after
                         document production.




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                         March 14, 2014
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                         Finally, as to the concluding paragraph in your letter, as soon as you provide
                         Rimini's updated customer list, Oracle will conduct a reasonable search for
                         relevant licenses for newly listed customers.

                         Sincerely yours,


                                        A'                        IT-S-4=1
                         Geoff M. Howard




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        McCutchen LLP
                  LLP
         bingham.com
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